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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF KENTUCKY


  PHI HEALTH, LLC, et al.,

                    Plaintiffs,

           v.                                         No. 6:22-cv-00095-REW-EBA

  UNITED STATES DEPARTMENT OF
  HEALTH AND HUMAN SERVICES, et
  al.,

                    Defendants.


                DEFENDANTS’ NOTICE OF SUBSTITUTION OF COUNSEL

        Pursuant to Local Civil Rule 83.6, the Defendants respectfully inform the Court that Joel

 McElvain hereby withdraws his appearance as their counsel in this action, and that Anna L.

 Deffebach (who has already entered her appearance) is substituted as their counsel of record. Mr.

 McElvain and Ms. Deffebach are employed by the same office of the U.S. Department of Justice.

 This substitution is made with the consent of the Defendants.

 Dated: October 20, 2022                             Respectfully submitted,

                                                     BRIAN M. BOYNTON
                                                     Principal Deputy Assistant Attorney General

                                                     ERIC B. BECKENHAUER
                                                     Assistant Branch Director

                                                     /s/ Joel McElvain
                                                     JOEL McELVAIN
                                                     Senior Trial Counsel

                                                     /s/ Anna L. Deffebach (by permission)
                                                     ANNA L. DEFFEBACH
                                                     Trial Attorney
                                                     United States Department of Justice
                                                     Civil Division, Federal Programs Branch


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                                 CERTIFICATE OF SERVICE

        I hereby certify on this 20th day of October, 2022, a true and correct copy of this document
 was served electronically by the Court’s CM/ECF system to all counsel of record.


                                                      /s/ Joel McElvain
                                                      JOEL McELVAIN




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